_Case 2:05-cV-02307-.]PI\/|-Cgc Document 13 Filed 06/23/05 Page 1 of 2 Page|D 9

UNlTED STATES DISTR]CT COURT
WESTERN DISTRICT OF TENNESSEE

CARRIER CORPORATION, )
)

Plaintiff, )

)

v. )
)

PAUL P. PIPER, JR., et al., )
)

Defendants. )

)

ORDER

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Civil Action No. 05-2307-MIV

The motion of 'Roger W. Patrick to represent defendant Quanex Corporation in the above-

captioned matter is hereby granted.

 

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Dated: M, 2005

   
 

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Honorable J on McCalla
US DISTRICT COURT

